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                       Exhibit C-1

           Schedule of Retained Causes of Action
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                                      SCHEDULE OF RETAINED CAUSES OF ACTION

        In accordance with Articles V.E and V.J of the Plan1 and except as expressly provided in
Article VIII of the Plan, nothing contained in the Plan or the Confirmation Order shall be deemed
to be a waiver or relinquishment of any Causes of Action, including but not limited to any rights,
claims, rights of setoff or recoupment, or other legal or equitable defenses that the Debtors had
immediately before the Effective Date on behalf of the Estates or themselves in accordance with
any provision of the Bankruptcy Code or any applicable nonbankruptcy law, including any
affirmative Causes of Action against any parties other than the Causes of Action released under
the Plan as to Released Parties. On or after the Effective Date, the Post-Effective Date Debtors
shall retain and be authorized (but not required) to take any such actions to (as applicable)
prosecute, pursue, compromise, settlement, or otherwise dispose of the Retained Causes of Action
and the Retained Claims Objections, subject to applicable law. No Entity may rely on the
absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement,
in each case including any supplement, amendment, or modification thereto, to any Cause of
Action against it as any indication that the Post-Effective Date Debtors shall not pursue any
and all available Causes of Action against it. The Debtors and the Post-Effective Date
Debtors expressly reserve all rights to prosecute any and all Causes of Action against any
Person or Entity, except as otherwise expressly provided in the Plan, including under Article
V.J, Article VIII.C and Article VIII.E of the Plan.

       Notwithstanding and without limiting the generality of the foregoing or anything herein to
the contrary, the Debtors and the Post-Effective Date Debtors shall not retain any claims or Causes
of Action against any of the Released Parties that are released pursuant to the Plan (except that
such claims or Causes of Action may be asserted as a defense to a Disputed Claim in connection
with the claims reconciliation procedures).

        For the avoidance of doubt, the following specific types of Causes of Action are indicative,
but is in no way exclusive, of the Causes of Action retained in connection with the Plan, which
include, but are not limited to, the following Debtors’ Causes of Action:

                  Except as provided for in Article VII.I of the Plan, to the extent not expressly waived,
                   relinquished, exculpated, released, compromised, assigned, or settled prior to the Effective
                   Date by Final Order entered through the Bankruptcy Court or pursuant to the Confirmation
                   Order or Article VIII of the Plan, all Avoidance Actions shall be retained by the Debtors
                   and the Post-Effective Date Debtors.

                  Causes of Action against Foxconn that have been or could be alleged in the adversary
                   proceeding captioned, Lordstown Motors Corp. et al. v. Foxconn Ventures Pte. Ltd. et al.,
                   Adv. Proc. No. 23-50414 (MFW) (Bankr. D. Del.) and any other Causes of Action against
                   Foxconn or its directors, officers, employes or affiliates;




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         Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Modified
         First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors (the “Plan”).



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                  Causes of Action against the Former Directors and Officers and other non-debtor
                   defendants, other than Released Parties for claims released under the Plan, that have been
                   or could be asserted in the litigation captioned, Karma Automotive LLC v. Lordstown
                   Motors Corp. et al., Case No. 20-cv-02104, filed in the U.S. District Court for the Central
                   District of California, including without limitation Claims arising from or related to the
                   facts or circumstances set forth in such action;

                  Causes of Action against the Former Directors and Officers and other non-debtor
                   defendants, other than Released Parties for claims released under the Plan, that have been
                   or could be asserted in: (i) In re Lordstown Motors Corp. Securities Litigation, Case No.
                   4:21-cv-00616 (DAR) (N.D. Ohio), (ii) In re Lordstown Motors Corp. Stockholders Litig.,
                   C.A. No. 2021-1066-LWW (Del. Ch.), (iii) Thai v. Burns et al., No. 4:21-cv-01267 (N.D.
                   Ohio), (iv) In re Lordstown Motors Corp. Shareholder Derivative Litigation, No. 21-
                   00604-SB (D. Del.), and (v) In re Lordstown Motors Corp. Stockholder Derivative
                   Litigation, C.A. No. 2021-1049-LWW (Del. Ch.), including without limitation Claims
                   arising from or related to the facts or circumstances set forth in such putative class actions;

                  Causes of Action against Debtors’ Directors and Officers, the Securities and Exchange
                   Commission, Foxconn, Holders Section 510(b) Claims, Holders of RIDE Section 510(b)
                   Claims and any other Entity asserting a Claim for contribution or reimbursement, if any,
                   in connection with the allowance of their respective Claims filed in the Chapter 11 Cases;

                  Causes of Action against the following entities, including, in each case, such entities’
                   affiliates, successors, assigns, insiders, managers, officers, directors, employees, and
                   shareholders, related to or in connection with such entities’ pre-orders, letters of intent,
                   promotions, or other indications of interest as to the Debtors’ vehicles, which led to losses
                   or damages suffered by the Debtors:

                             o American Electric Power;

                             o Ameripride;

                             o Brinks;

                             o Catholic Cemeteries Association;

                             o City of Kent.

                             o City of Orlando;

                             o City of Ravenna;

                             o Clean Fuels Ohio;

                             o Climb2Glory;

                             o Duke Energy;



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                             o Elaphe;

                             o E-Squared Energy Advisors;

                             o FirstEnergy Solutions;

                             o General Motors, Inc.;

                             o Goodyear;

                             o GridX;

                             o Holman Enterprises;

                             o Innervations LLC;

                             o Mike Albert Fleet Solutions;

                             o Momentum Groups;

                             o Portland General Electric;

                             o PSE&G;

                             o Ryder Systems, Inc.;

                             o Samsung;

                             o Servepro;

                             o Smart Cites Columbus;

                             o Southern California Public Power Authority;

                             o Summit Petroleum Inc.;

                             o Turner Mining Group;

                             o Western Washington Clean Cities; and

                             o Workhorse Group Inc.

                  Causes of Action against LAS Capital LLC following consummation of the APA;

                  Causes of Action against Clark Schaefer Hackett & Co. (and such firm’s affiliates,
                   successors, assigns, insiders, managers, officers, directors, employees, and shareholders)
                   related to or in connection with such firm’s involvement in losses or damages suffered by
                   the Debtors; and



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                  Causes of Action not released under the Plan, including against any of the entities or
                   individuals identified previously (other than Causes of Action against Released Parties that
                   are released pursuant to the Plan), arising out of or related to the findings made by the
                   Securities and Exchange Commission in the OIP.

        In addition to the foregoing, and notwithstanding and without limiting the generality of
Article V.J of the Plan, the Debtors and the Post-Effective Date Debtors, as applicable, expressly
reserve their rights with respect to all Causes of Action that are not expressly released under the
Plan, including the following types of claims:

         1. Claims Related to Contracts and Leases

        Unless otherwise released by the Plan, Debtors reserve all Causes of Action based in
whole or in part upon any and all contracts and leases to which any Debtor or Post-Effective Date
Debtor is a party or pursuant to which any Debtor or Post-Effective Date Debtor has any rights
whatsoever. The claims and Causes of Action reserved include, without limitation, Causes of
Action against vendors, Foxconn, suppliers of goods or services, customers, or any other parties,
unless such claims or Causes of Action were previously released through the Plan (including any
claims against Released Parties that are released pursuant to the Plan) or a separate written
agreement executed by the Debtors (including any subsequent settlement agreement), for:
(i) overpayments, back charges, duplicate payments, improper holdbacks, deductions owing or
improper deductions taken, deposits, warranties, guarantees, indemnities, recoupment, or setoff;
(ii) wrongful or improper termination, suspension of services or supply of goods, or failure to
meet other contractual or regulatory obligations; (iii) failure to fully perform or to condition
performance on additional requirements under contracts with any one or more of the Debtors
before the assumption or rejection, if applicable, of such contracts; (iv) indemnification or any
other post-closing obligation of counterparties to any contract for sale or assignment of any
Debtor’s assets or interests, regardless of whether such contract is an executory contract;
(v) payments, deposits, holdbacks, reserves, or other amounts owed by any creditor, utility,
supplier, vendor, insurer, surety or any other party; (vi) any liens, including mechanics’, artisans’,
warehousemen’s, materialmens’, possessory, or statutory liens held by any one or more of the
Debtors; (vii) environmental or contaminant exposure matters against environmental consultants,
environmental agencies, or suppliers of environmental services or goods; (viii) counter-claims and
defenses related to any contractual obligations; and (ix) unfair competition, interference with
contract or potential business advantage, breach of contract, infringement of intellectual property,
or any business tort claims.

         2. Claims Related to Customer and Vendor Obligations

        Unless otherwise released by the Plan, the Debtors reserve all Causes of Action against or
related to all former and current customers, service providers or vendors (including Foxconn) that
owe or may in the future owe money to the Debtors or the Post-Effective Date Debtors whether
for unpaid invoices, warranty obligations, breach of contract or any other matter whatsoever,
regardless of whether such Cause of Action is identified herein.

         3. Claims Related to Insurance Policies



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        The Debtors expressly reserve all Causes of Action based in whole or in part upon any
and all insurance contracts, insurance policies, occurrence and claims made policies, occurrence
and claims made contracts, and similar agreements to which any Debtor or Post-Effective Date
Debtor is or was a party or pursuant to which any Debtor or Post-Effective Date Debtor has any
rights whatsoever, regardless of whether such contract or policy is specifically identified in the
Plan, this Plan Supplement, or any amendments thereto, including, Causes of Action against
current or former insurance carriers, reinsurance carriers, insurance brokers, underwriters,
occurrence carriers, third-party claims administrators, or surety bond issuers relating to coverage,
indemnification, subrogation, contribution, reimbursement, overpayment of premiums and fees,
breach of contract, or any other matters.

         4. Claims Related to Prepayments, Deposits, Adequate Assurance Postings, and Other
            Collateral Postings

        Unless otherwise released by the Plan, the Debtors reserve all Causes of Action based in
whole or in part upon any prepayment made to and setoff against any vendor, service provider, or supplier
and all postings of a deposit, security deposit, adequate assurance posting, or any other type of
deposit, prepayment, or collateral, regardless of whether such posting of a deposit, security
deposit, adequate assurance posting, or any other type of deposit, prepayment, or collateral is
specifically identified herein.

         5. Claims Related to Liens

        Unless otherwise released by the Plan, the Debtors reserve all Causes of Action based in
whole or in part upon any and all liens regardless of whether such lien is specifically identified
herein.

         6. Claims, Defenses, Cross-Claims, and Counter-Claims Related to Pending and Potential
            Litigation

        Unless otherwise released by the Plan, the Debtors reserve all Causes of Action and
defenses against or related to all Persons or Entities that are party to or that may in the future
become party to litigation, arbitration, or any other type of adversarial proceeding or dispute
resolution proceeding against the Debtors or to which any Debtor is or may in the future become
a party, whether formal or informal or judicial or non-judicial, including, without limitation, all
actual or potential (i) contract and tort actions that may exist or may subsequently arise; (ii) actions
under federal or state statutory or common law arising from or related to the employment or
termination of any Person by the Debtors; (iii) consumer protection proceedings; (iv) actions
relating to environmental and product liability matters, and (v) actions arising out of, or relating
to, the Debtors’ intellectual property rights. For the avoidance of doubt, nothing herein shall be
read as an admission as to the validity or allowance of any claim against any Debtor, and any and
all prepetition claims against the Debtors that may be identified herein shall be treated in
accordance with the Plan and the Bankruptcy Code.

         7. Claims Related to Accounts Receivable and Accounts Payable

        The Debtors expressly reserve all Causes of Action against or related to any Person or
Entity that owe or that may in the future owe money to the Debtors or the Post-Effective Date

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Debtors, regardless of whether such Person or Entity is expressly identified in the Plan, the Plan
Supplement, or any amendments thereto. Furthermore, the Debtors expressly reserve all Causes
of Action against or related to all Persons or Entities who assert or may assert that the Debtors or
the Post-Effective Date Debtors, as applicable, owe money to them.

         8. Claims Related to Taxes, Fees, and Tax or Fee Refunds or Credits

        The Debtors expressly reserve all Causes of Action against or related to all Persons or
Entities that owe or that may in the future owe money related to tax or fee refunds, credits,
overpayments, recoupments, offsets, or other tax obligations that may be due and owing to the
Debtors or the Post-Effective Date Debtors, regardless of whether such Person or Entity is
specifically identified herein. Furthermore, the Debtors expressly reserve all Causes of Action
against or related to all Persons or Entities who assert or may assert that the Debtors or the Post-
Effective Date Debtors owe taxes to them. Without limiting the generality of the foregoing, the
Debtors expressly reserve all Causes of Action against the United States of America or any other
federal, state, local, province, or other taxing authorities.

       The Debtors reserve all rights to amend, revise, or supplement this Plan Supplement
schedule, and any of the documents and designations contained herein, at any time before the
Effective Date of the Plan, or any such other date as may be provided for by the Plan or by
order of the Bankruptcy Court. Nothing herein shall prevent the Debtors from later settling
any Retained Cause of Action and granting releases in connection with such settlement,
subject to Bankruptcy Court approval (if required).




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